977 F.2d 587w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.BFI MEDICAL WASTE SYSTEMS;  BFI Medical Waste Systems ofCalifornia, Incorporated;  Browning-FerrisIndustries, Limited, Plaintiffs-Appellees,v.WHATCOM COUNTY, a Municipal Corporation of the State ofWashington, Defendant-Appellant, andSafe Waste Management Now, Defendant-Intervenor.BFI MEDICAL WASTE SYSTEMS;  BFI Medical Waste Systems ofCalifornia, Incorporated;  Browning-FerrisIndustries, Limited, Plaintiffs-Appellants,v.WHATCOM COUNTY, a Municipal Corporation of the State ofWashington, Defendant-Appellee, andSafe Waste Management Now, Defendant-Intervenor.
    Nos. 91-35374, 91-35929.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 5, 1992.Decided Oct. 21, 1992.
    
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      NOTE: THE COURT HAS WITHDRAWN THIS OPINION.
    
    